Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 1 of 9
Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 2 of 9
Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 3 of 9
Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 4 of 9
Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 5 of 9
Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 6 of 9
Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 7 of 9
Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 8 of 9
  Case 4:23-mj-00210 Document 1 Filed on 02/03/23 in TXSD Page 9 of 9




1$R. G5G. &C?'K M1$M  1%R. G=$(.+ C@ M1. G.I3?.N.I  2$R. $

AOIL. OA5/CI? $A, $ '$,0. /JD? $ @ R. ;5==., C9Y9 5@ EOKMCA

*KZ9*5q    OAK C//   I$40K>4KM !K4("   CS  :OKM A..- CPKMC@

.M1C,5KM ?G=CT..K '>CC,              $? )IT6A0 ACS     ?C;5B0 ?.M1

C5A0 MC ;7== TCO       $? 5A $ 2*Z =CE<8A0 $A+ UCO *Z9 @CM 5A M1.

1CKH5M$> T.M 'OM  S5=> 0.M VEQ S1.A WCP 0C 5A          >= C/ TFO ,9.

,5. ,5. ,5. ,5.  %D: :P+GL p+` `G@Q:6 .I.?T CK.G1          

CA>T KC@ C/    M.>>$ O*5>>. CK.G1! #

                              

           +`:6 SQ aD: =S[:ASGQ@  /:NG:o: bE:]; G` W\T0+/M: 3+k`:

bD+b :]:Pr +P:`  $" F+` c],Q`PGde:7 GQ GQd:]`b-a: +Q6 >S]:G@Q

3SPP:]3: + fD]:+e bS HQJl^; gD: W:]`UQ S= .QSbD:_ GQ oGSN+hGSQ V=

%GbN:    'QGb:6 $b+i:` S6: $:3bISQ 3

                                 #:`W:3b?mNNr `m1PGbj<8




                                &! %% !==G3:]



     $n/`3]G/:6 -Q6 `pS]Q bS /:=S]: P: a:N:XDSQG4+NNs SQ :/]m+]t

   +Q6  =GR6 W]S/+/O: 3+m`:




                                "%# #)
                                (QGb:6 $c+b:` +BG`b]+h: m6@:




                                   
